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                             SERVICE LIST

Mark D. Collins, Esq.                 Edward O. Sassower, Esq.
Daniel J. DeFranceschi, Esq.          Stephen E. Hessler, Esq.
Jason M. Madron, Esq.                 Brian E. Schartz, Esq.
RICHARDS, LAYTON & FINGER, P.A.       KIRKLAND & ELLIS, LLP
920 North King Street                 KIRKLAND & ELLIS INTERNATIONAL,
Wilmington, DE 19801                  LLP
Collins@rlf.com                       601 Lexington Avenue
 defranceschi@rlf.com                 New York, New York 10022
madron@rlf.com                        Edward.sassower@kirkland.com
                                      Stephen.hessler@kirkland.com
                                      brian.schartz@kirkland.com

James H.M. Sprayregen, Esq.
Marc Kieselstein, Esq.
Chad J. Husnick, Esq.
Steven N. Serajeddini, Esq.
KIRLAND & ELLIS, LLP
KIRKLAND & ELLIS INTERNATIONAL,
LLP
300 North LaSalle
Chicago, IL 60654
james.sprayregen@kirkland.com
Marc.kieselstein@kirkland.com
Chad.husnick@kirkland.com
Steven.serajeddini@kirkland.com
